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                                                                                          FILED
                                                                                    RICHARD W.NAGEL
                                                                                     CLERK OF COURT
                           IN THE UNITED STATES DISTRICT
                            COURT SOUTHERN DISTRICT OF                             FOHOV-Q AHII: 15
                               OIHO WESTERN DIVISION
                                                                                   U.S. OlSTRICT COURT
                                                                                   SOUTHERN DiST OHIO
  ERIC DETERS                                        CASE NO. 1:20CV362            WEST DIV CiNCiNNA^
         Plaintiff                                   (Judge Black)
                                                     (Magistrate
 vs.                                                 Bowman)


 MATTHEW HAMMER, ET                                  PLAINTIFF'S RESPONSE IN
 AL                                                  OPPOSITION TO MOTION
                                                     OF     DEFENDANTS           FOR
         Defendants                                  SUMMARY JUDGMENT


         Now comes Eric C. Deters ("Plaintiff or "Eric Deters"), and hereby respectfully submits

 his Response in Opposition to Motion of Defendants For Summary Judgment (the "Motion")

 filed by Matthew Hammer ("Hammer") and McKenzie & Snyder, LLP ("McKenzie & Snyder")

 (Hammer and McKenzie & Snyder are each a "Defendant" and collectively "Defendants") (the

 "Response"). In support of his Response, Plaintiff provides his Affidavit.

         I.     Factual Background

       On May 6, 2020, Plaintiff initiated this action against Matthew Hammer ("Hammer") and

Hammer's employer McKenzie & Snyder, LLP ("McKenzie & Snyder") by filing a complaint

asserting claims of libel and slander and invasion of privacy and false light against Hammer and

a claim of vicarious liability against McKenzie and Snyder. Dkt. No. 1.

       Defendants each filed a separate answer. Dkt. Nos. 7 & 8.

               On October 19, 2020, Defendants filed the Motion seeking dismissal of this action

arguing that absolute immunity is afforded to Hammer's statements because they were made in

the course of a judicial proceeding in Kentucky. Motion, at pp. 5 & 6. Plaintiff does not dispute

the statements of facts provided by Defendants in the Motion and will refer to the relevant facts

during the course of his argument.
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         We arenotgoing to share withyoueverything wesent totheproseoutor's ofSce so that
   Mr. Vander Laan obtains it prior to anycriminal prosecution.

           Hecanobtain it defending Mr. Brittin^iam in criminal charges. He won't beable under
   conflict of interest laws torepresent Ma. Probst too.

         Please providethis to Mr. Vander Laaiu

                                            Sinoorely,



                                            Matthew J.

  Q^y: Edwin W. Patterson m, Esq.
         PaulM. Iflufirwn, Esq.
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